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                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH


DP CREATIONS, LLC,
                                                  FINAL JUDGMENT
        Plaintiff,
                                                  Case No. 2:21-cv-00574-JNP
v.
                                                  District Judge Jill N. Parrish
REBORN BABY MART, et al.,

        Defendants.



         IT IS ORDERED AND ADJUDGED that judgment is entered in favor of plaintiff DP

Creations, LLC and against defendants Reborn Baby Mart, Reborn Box, Reborn Baby Stores,

Love Reborn Dolls and Reborn Dolls Shop for the following amounts:

         Reborn Baby Mart (RebornBabyMart.com):             $750,000.00

         Reborn Box (RebornBox.com):                        $750,000.00

         Reborn Baby Stores (RebornBabyStores.com):         $750,000.00

         Love Reborn Dolls (LoveRebornDolls.com):           $750,000.00

         Reborn Dolls Shop (RebornDollsShop.com):           $750,000.00

         IT IS FURTHER ORDERED AND ADJUDGED that judgment is entered in favor of

plaintiff DP Creations, LLC and against defendants Nine9Light Company and LTD Information

Technology Co., Ltd. in the following amounts:

         Nine9Light Company is jointly and severally liable for $3,000,000.00, the sum of
         the $750,000 owed by each of the following Defendants: Reborn Baby Mart,
         Reborn Box, Reborn Baby Stores, and Love Reborn Dolls.
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       LTD Information Technology Co., Ltd. is jointly and severally liable for the
       $750,000 owed by Reborn Dolls Shop.

       IT IS FURTHER ORDERED AND ADJUDGED that defendants Reborn Baby Mart,

Reborn Box, Reborn Baby Stores, Love Reborn Dolls, Reborn Dolls Shop, Nine9Light

Company, and LTD Information Technology Co., Ltd. are jointly and severally liable for plaintiff

DP Creations, LLC’s attorneys’ fees and costs in the amount of $71,750.95.




              DATED August 3, 2022.



                                            BY THE COURT



                                            ______________________________

                                            Jill N. Parrish

                                            United States District Court Judge
